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 2
                                 UNITED STATES DISTRICT COURT
 3
                                           DISTRICT OF NEVADA
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 5
      John Souza,                                          Case No. 2:17-cv-01924-JAD-DJA
 6
                             Petitioner,
 7                                                                             Order
            v.
 8
      Elevate, Inc.,
 9
                             Respondent.
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12          Before the Court are non-party Stephanie Thurston and Wright Thurston’s motions to
13   extend time to respond to a deposition subpoena. (ECF Nos. 79 and 80). However, as John
14   Souza—the subpoenaing party—points out in response, the subpoenas require the Thurstons to
15   appear for their deposition in Salt Lake City, Utah. (ECF No. 81). Under FRCP 45(d)(3)(A), the
16   court for the district where compliance is required is responsible for quashing or modifying a
17   subpoena. “Under the current version of the Rule, when a motion to quash a subpoena is filed in
18   a court other than the court where compliance is required, that court lacks jurisdiction to resolve
19   the motion.” Agincourt Gaming, LLC v. Zynga, Inc., No. 2:14-cv-00708-RFB-NJK, 2014 WL
20   4079555, at *3 (D. Nev. Aug. 15, 2014). Here, the court where compliance is required is the
21   District of Utah. This Court thus lacks jurisdiction to resolve the Thurstons’ motions and denies
22   the motions without prejudice.
23          IT IS THEREFORE ORDERED that the motions to extend time (ECF Nos. 79, 80) are
24   denied without prejudice.
25          DATED: November 6, 2023
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                                                           DANIEL J. ALBREGTS
28                                                         UNITED STATES MAGISTRATE JUDGE
